                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                   No. CR09-4057-MWB
 vs.                                                ORDER CONCERNING
                                                MAGISTRATE’S REPORT AND
 SANDRA HANSON,                               RECOMMENDATION REGARDING
                                                  DEFENDANT’S MOTION TO
                Defendant.                              SUPPRESS
                                   ____________________


                                  TABLE OF CONTENTS

I. INTRODUCTION AND BACKGROUND . . . . . . . . . . . . . . . . . . . . . . . . . . 2
      A. Procedural Background . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
      B. Factual Background . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3

II. LEGAL ANALYSIS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
      A. Standard Of Review . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
      B. Objections to Report and Recommendation . . . . . . . . . . . . . . . . . . . 12
            1.    Staleness of information . . . . . . . . . . . . . . . . . . . . . . . . 12
            2.    Lack of veracity of the confidential informant . . . . . . . . . 17
            3.    Lack of drug dog’s initial indication . . . . . . . . . . . . . . . . . 19
            4.    Voluntariness of consent to search . . . . . . . . . . . . . . . . . . 20

III. CONCLUSION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22




   Case 5:09-cr-04057-MWB-LTS             Document 55        Filed 03/19/10     Page 1 of 22
                      I. INTRODUCTION AND BACKGROUND
                               A. Procedural Background
       On November 19, 2009, an indictment was returned against defendant Sandra K.
Hanson, charging her with conspiracy to distribute and possess with intent to distribute
1000 kilograms or more of marijuana, in violation of 21 U.S.C. §§ 841(a)(1),
841(b)(1)(A), and 846. On January 4, 2010, defendant Hanson filed a Motion to Suppress.
In her motion, defendant Hanson seeks to suppress evidence obtained from her pickup
truck, following a traffic stop, which was obtained without a search warrant. Defendant
Hanson further seeks to suppress all evidence obtained as a result of a search of her
residence on the ground that this evidence is the fruits of an illegal search.
       Defendant Hanson’s motion to suppress was referred to Chief United States
Magistrate Judge Paul A. Zoss, pursuant to 28 U.S.C. § 636(b). After conducting an
evidentiary hearing, on January 29, 2010, Judge Zoss filed a Report and Recommendation
in which he recommends that defendant Hanson’s Motion to Suppress be denied. Judge
Zoss concluded that while the search and seizure occurred after a warning citation had
been issued, the law enforcement officer’s continued detention of defendant Hanson in
order to permit a drug dog sniff was justified by that officer’s reasonable suspicion that
criminal activity unrelated to the stop was afoot. Judge Zoss further found that defendant
Hanson consented to having a drug sniffing dog enter the back of her truck, which resulted
in the discovery of marijuana in the vehicle. Accordingly, Judge Zoss recommended that
defendant Hanson’s Motion to Suppress be denied. Defendant Hanson has filed objections
to Judge Zoss’s Report and Recommendation. The prosecution, in turn, has filed a timely
response to defendant Hanson’s objections. The court, therefore, undertakes the necessary
review of Judge Zoss’s recommended disposition of defendant Hanson’s Motion to
Suppress.

                                             2


   Case 5:09-cr-04057-MWB-LTS          Document 55      Filed 03/19/10     Page 2 of 22
                           B. Factual Background
  In his Report and Recommendation, Judge Zoss made the following findings of fact:


        [I]n May 2009, a confidential source (“CS”) provided
        information to officers of the Sioux City Police Department
        regarding a marijuana operation. The CS described in some
        detail his dealings with Sandra and other individuals in the
        distribution of marijuana. The information the CS provided
        included a description of two trucks Sandra and the others
        were using: a white Dodge pickup truck and a blue Chevrolet
        2500 pickup truck. The CS stated the Hansons would drive
        one of the trucks to the Houston, Texas, area about once a
        month to pick up marijuana and bring it back to the Sioux
        City, Iowa, area. He described where the Hansons kept the
        marijuana at their residence, and how much marijuana he was
        purchasing from them.
                The officers contacted members of the DEA’s Tri-State
        Drug Task Force, and the information supplied by the CS was
        passed on to TFO Heideman. He and other officers verified
        that Sandra owned or had access to two trucks matching those
        described by the CS. The officers set up electronic
        surveillance on both of the trucks, and also visual surveillance
        of the Chevrolet pickup. In September 2009, officers
        monitored the Chevrolet pickup, carrying unknown occupants,
        as it traveled to the area of Crosby, Texas. In late October
        2009, they again detected the Chevrolet pickup traveling to
        Texas. Visual surveillance of the truck was picked up by DEA
        officers in the Houston area, who confirmed via photographs
        Heideman had sent them that Charles Hanson and his mother,
        Sandra Hanson, were the occupants of the truck. The
        Houston-based officers maintained surveillance of the truck,
        following it to the area of Crosby, Texas, the same location
        where the September trip had concluded.




                                       3


Case 5:09-cr-04057-MWB-LTS       Document 55      Filed 03/19/10     Page 3 of 22
               When the Hansons began their return trip, Heideman
        and other Task Force officers sought the assistance of Monona
        County, Iowa, officers in conducting a traffic stop of the
        Chevrolet. They contacted the Monona County Sheriff, who
        alerted Deputy Tadlock to expect a call from Task Force
        officers when the truck neared the Monona County area.
        Tadlock works with a K-9 unit that is a certified drug detection
        dog.

               Officers kept Tadlock up to date on the truck’s progress
        northward. They contacted him when the truck was near
        Nebraska City, Nebraska. Tadlock told the officers to alert
        him when the truck passed the Missouri Valley exit on I-29
        northbound. They did, and Tadlock went out to I-29 to wait
        for the truck to pass him, which it did near the Blencoe exit on
        I-29. Tadlock began following the truck. He clocked the
        truck’s speed at slightly over the speed limit, and he observed
        the vehicle’s passenger-side tires cross onto the fog line briefly
        at one point. He initiated a traffic stop of the vehicle for these
        violations.

                Tadlock parked his patrol car behind the Chevrolet
        pickup truck. He approached the passenger’s side of the truck,
        and initiated contact with the vehicle’s occupants. Sandra was
        sitting in the passenger’s seat and Charles Hanson was driving.
        Tadlock told Charles he had been stopped for speeding and
        crossing the fog line, and Charles retrieved his driver’s
        license, registration, and insurance verification. Charles then
        accompanied Tadlock back to his patrol car, where they sat in
        the front seat.

               Tadlock asked Charles several questions about where
        the Hansons had been on their trip, and some of the details
        about the trip. At one point, Tadlock went back up to the
        truck where Sandra was sitting so he could verify the truck’s
        VIN. While there, he asked Sandra some of the same
        questions he had asked Charles. The two gave different

                                        4


Case 5:09-cr-04057-MWB-LTS        Document 55       Filed 03/19/10     Page 4 of 22
        responses to some of the questions. Charles indicated they had
        been to visit his Uncle John, who was Sandra’s brother.
        Sandra stated Uncle John was her mother’s brother; in other
        words, Charles’s great-uncle. Charles stated Uncle John’s
        house was white, while Sandra stated the house was blue.
        Neither Charles nor Sandra could provide the address for
        Uncle John’s house. Tadlock also found it suspicious that they
        had stayed in a motel rather than staying with “Uncle John.”
        These discrepancies, although minor, raised Tadlock’s
        suspicions, particularly when coupled with the information he
        had received previously and Charles’s visible nervousness
        during the traffic stop.

               Tadlock issued a warning citation to Charles for
        speeding, and he returned Charles’s identification and
        paperwork to him. Charles had decided he wanted his mother
        to drive, so when he returned to the truck, he went to the
        passenger’s side and Sandra got out. As Sandra was walking
        around the back of the truck, Tadlock yelled, “Hey, Sandra.”
        She came to where he was standing, and he asked, “While I’ve
        got you here, do you mind if I ask you a few questions?”
        Sandra agreed, and Tadlock asked if she had any illegal
        weapons, drugs, or stolen property in the truck. She said she
        did not, and he asked if he could search the truck. Sandra
        said, “Yep.” Tadlock and Sandra then got into the front seat
        of the patrol car so Tadlock could complete a written consent-
        to-search form for Sandra’s signature. While Tadlock was
        completing the form and before Sandra signed it, Sandra stated
        she had changed her mind. She then asked why he needed to
        search her vehicle, and Tadlock responded that he believed she
        had illegal drugs in the vehicle and she was not being
        completely honest with him. He asked, “How much marijuana
        do you have in your car?” and Sandra responded, “I have no
        marijuana. Why do you think I do?” Tadlock also asked
        Sandra if she was responsible for everything in her vehicle,
        and Sandra answered, “Absolutely.”


                                      5


Case 5:09-cr-04057-MWB-LTS      Document 55      Filed 03/19/10    Page 5 of 22
               Tadlock advised Sandra that he was going to take his
        drug dog around the truck. Tadlock testified there are
        different ways his dog will respond to the presence of
        suspected controlled substances. The dog will “alert” by
        changing its behavior. It will “indicate” by scratching at a
        place or item. Tadlock took his K-9 around the truck several
        times. He testified the dog alerted by showing “a lot of interest
        but no indication.” Tadlock put his dog back into the patrol
        car and called another officer with a K-9 unit to come to the
        scene. He also had another conversation with Task Force
        officers and learned they had additional information indicating
        there were drugs in the truck, and other officers were on their
        way to the scene to search the vehicle.

                Tadlock told Sandra that his dog had shown interest in
        the back of the truck, and another drug dog was coming to the
        scene. He asked Sandra if he could look in the back of the
        truck, which was covered by a topper. According to Tadlock,
        Sandra consented without hesitation. The video shows that
        before Tadlock approached the back of the truck, Sandra
        stated, “Do you want him to go in [referring to the dog]? You
        can have him go in there. I don’t want you to tear my car
        up.” She stated she would rather have the dog go into the
        truck and tell Tadlock there were no drugs inside than to have
        Tadlock pull all of her stuff out. Tadlock and Sandra
        approached the truck and Sandra opened the back of the truck.
        Tadlock observed several items in the back of the truck. After
        some brief conversation about furniture and other items in the
        back of the truck, Tadlock got his dog from the patrol car, put
        it in the back of the pickup, and the dog indicated on
        something at the front of the truck bed, near the cab of the
        truck. Tadlock told Sandra and Charles that the dog’s
        indication provided him with probable cause to search the
        truck. He pulled out a few items until he could reach the area
        where the dog had indicated, where he found marijuana inside
        a plastic bin. Tadlock placed Sandra and Charles under arrest.


                                       6


Case 5:09-cr-04057-MWB-LTS       Document 55       Filed 03/19/10     Page 6 of 22
                    From the time Tadlock stopped the truck to the time he
             issued the warning ticket and gave Charles back his license and
             documents, about thirteen minutes had elapsed. From that
             time until the drugs were found, another twenty-four minutes
             had elapsed.

Report and Recommendation at pp. 1-5 (footnote omitted). Upon review of the record,
the court adopts all of Judge Zoss’s factual findings.


                                II. LEGAL ANALYSIS
                                A. Standard Of Review
      The court reviews the magistrate judge’s report and recommendation pursuant to
the statutory standards found in 28 U.S.C. § 636(b)(1):
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate judge.
             The judge may also receive further evidence or recommit the
             matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 72, 72.1 (allowing the referral of dispositive matters to a magistrate judge
but not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
             Any party that desires plenary consideration by the Article III
             judge of any issue need only ask. Moreover, while the statute
             does not require the judge to review an issue de novo if no
             objections are filed, it does not preclude further review by the



                                            7


   Case 5:09-cr-04057-MWB-LTS          Document 55       Filed 03/19/10   Page 7 of 22
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       De novo review, of course, is nondeferential and generally allows a reviewing court
to make an “independent review” of the entire matter. Salve Regina College v. Russell,
499 U.S. 225, 238 (1991) (noting also that “[w]hen de novo review is compelled, no form
of appellate deference is acceptable”); see Doe v. Chao, 540 U.S. 614, 620-19 (2004)
(noting de novo review is “distinct from any form of deferential review”). The de novo
review of a magistrate judge’s report and recommendation, however, only means a district
court “‘give[s] fresh consideration to those issues to which specific objection has been
made.’” United States v. Raddatz, 447 U.S. 667, 675 (1980) (quoting H.R. Rep. No. 94-
1609, at 3, reprinted in 1976 U.S.C.C.A.N. 6162, 6163 (discussing how certain
amendments affect 28 U.S.C. § 636(b))). Thus, while de novo review generally entails
review of an entire matter, in the context of § 636 a district court’s required de novo
review is limited to “de novo determination[s]” of only “those portions” or “specified
proposed findings” to which objections have been made. 28 U.S.C. § 636(b)(1); see
Thomas, 474 U.S. at 154 (“Any party that desires plenary consideration by the Article III
judge of any issue need only ask.” (emphasis added)). Consequently, the Eighth Circuit


                                             8


   Case 5:09-cr-04057-MWB-LTS          Document 55      Filed 03/19/10     Page 8 of 22
Court of Appeals has indicated de novo review would only be required if objections were
“specific enough to trigger de novo review.” Branch v. Martin, 886 F.2d 1043, 1046 (8th
Cir. 1989). Despite this “specificity” requirement to trigger de novo review, the Eighth
Circuit Court of Appeals has “emphasized the necessity . . . of retention by the district
court of substantial control over the ultimate disposition of matters referred to a
magistrate.” Belk v. Purkett, 15 F.3d 803, 815 (8th Cir. 1994). As a result, the Eighth
Circuit has been willing to “liberally construe[]” otherwise general pro se objections to
require a de novo review of all “alleged errors,” see Hudson v. Gammon, 46 F.3d 785,
786 (8th Cir. 1995), and to conclude that general objections require “full de novo review”
if the record is concise, Belk, 15 F.3d at 815 (“Therefore, even had petitioner’s objections
lacked specificity, a de novo review would still have been appropriate given such a concise
record.”). Even if the reviewing court must construe objections liberally to require de
novo review, it is clear to this court that there is a distinction between making an objection
and making no objection at all. See Coop. Fin. Assoc., Inc. v. Garst, 917 F. Supp. 1356,
1373 (N.D. Iowa 1996) (“The court finds that the distinction between a flawed effort to
bring objections to the district court’s attention and no effort to make such objections is
appropriate.”). Therefore, this court will strive to provide de novo review of all issues
that might be addressed by any objection, whether general or specific, but will not feel
compelled to give de novo review to matters to which no objection at all has been made.
       In the absence of any objection, the Eighth Circuit Court of Appeals has indicated
a district court should review a magistrate judge’s report and recommendation under a
clearly erroneous standard of review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir.
1996) (noting when no objections are filed and the time for filing objections has expired,
“[the district court judge] would only have to review the findings of the magistrate judge
for clear error”); Taylor v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the

                                              9


   Case 5:09-cr-04057-MWB-LTS           Document 55      Filed 03/19/10     Page 9 of 22
advisory committee’s note to Fed. R. Civ. P. 72(b) indicates “when no timely objection
is filed the court need only satisfy itself that there is no clear error on the face of the
record”); Branch, 886 F.2d at 1046 (contrasting de novo review with “clearly erroneous
standard” of review, and recognizing de novo review was required because objections
were filed). The court is unaware of any case that has described the clearly erroneous
standard of review in the context of a district court’s review of a magistrate judge’s report
and recommendation to which no objection has been filed. In other contexts, however, the
Supreme Court has stated the “foremost” principle under this standard of review “is that
‘[a] finding is “clearly erroneous” when although there is evidence to support it, the
reviewing court on the entire evidence is left with the definite and firm conviction that a
mistake has been committed.’” Anderson v. City of Bessemer City, 470 U.S. 564, 573-74
(1985) (quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Thus, the
clearly erroneous standard of review is deferential, see Dixon v. Crete Medical Clinic,
P.C., 498 F.3D 837, 847 (8th Cir. 2007) (noting a finding is not clearly erroneous even
if another view is supported by the evidence), but a district court may still reject the
magistrate judge’s report and recommendation when the district court is “left with a
definite and firm conviction that a mistake has been committed,” U.S. Gypsum Co., 333
U.S. at 395.
       Even though some “lesser review” than de novo is not “positively require[d]” by
statute, Thomas, 474 U.S. at 150, Eighth Circuit precedent leads this court to believe that
a clearly erroneous standard of review should generally be used as the baseline standard
to review all findings in a magistrate judge’s report and recommendation that are not
objected to or when the parties fail to file any timely objections, see Grinder, 73 F.3d at
795; Taylor, 910 F.2d at 520; Branch, 886 F.2d at 1046; see also Fed. R. Civ. P. 72(b)
advisory committee’s note (“When no timely objection is filed, the court need only satisfy

                                             10


   Case 5:09-cr-04057-MWB-LTS          Document 55      Filed 03/19/10     Page 10 of 22
itself that there is no clear error on the face of the record in order to accept the
recommendation.”). In the context of the review of a magistrate judge’s report and
recommendation, the court believes one further caveat is necessary: a district court always
remains free to render its own decision under de novo review, regardless of whether it
feels a mistake has been committed. See Thomas, 474 U.S. at 153-54. Thus, while a
clearly erroneous standard of review is deferential and the minimum standard appropriate
in this context, it is not mandatory, and the district court may choose to apply a less
                        1
deferential standard.

       1
          The Eighth Circuit Court of Appeals, in the context of a dispositive matter
originally referred to a magistrate judge, does not review a district court’s decision in
similar fashion. The Eighth Circuit Court of Appeals will either apply a clearly erroneous
or plain error standard to review factual findings, depending on whether the appellant
originally objected to the magistrate judge’s report and recommendation. See United States
v. Brooks, 285 F.3d 1102, 1105 (8th Cir. 2002) (“Ordinarily, we review a district court’s
factual findings for clear error . . . . Here, however, the record reflects that [the
appellant] did not object to the magistrate’s report and recommendation, and therefore we
review the court’s factual determinations for plain error.” (citations omitted)); United
States v. Looking, 156 F.3d 803, 809 (8th Cir. 1998) (“[W]here the defendant fails to file
timely objections to the magistrate judge’s report and recommendation, the factual
conclusions underlying that defendant’s appeal are reviewed for plain error.”). The plain
error standard of review is different than a clearly erroneous standard of review, see
United States v. Barth, 424 F.3d 752, 764 (8th Cir. 2005) (explaining the four elements
of plain error review), and ultimately the plain error standard appears to be discretionary,
as the failure to file objections technically waives the appellant’s right to appeal factual
findings, see Griffini v. Mitchell, 31 F.3d 690, 692 (8th Cir. 1994) (stating an appellant
who did not object to the magistrate judge’s report and recommendation waives his or her
right to appeal factual findings, but then choosing to “review[] the magistrate judge’s
findings of fact for plain error”). An appellant does not waive his or her right to appeal
questions of law or mixed questions of law and fact by failing to object to the magistrate
judge’s report and recommendation. United States v. Benshop, 138 F.3d 1229, 1234 (8th
Cir. 1998) (“The rule in this circuit is that a failure to object to a magistrate judge’s report
                                                                                  (continued...)

                                              11


   Case 5:09-cr-04057-MWB-LTS           Document 55       Filed 03/19/10     Page 11 of 22
       As noted above, defendant Hanson has filed objections to Judge Zoss’s Report and
Recommendation. The court, therefore, undertakes the necessary review of Judge Zoss’s
recommended disposition of defendant Hanson’s Motion to Suppress.


                     B. Objections to Report and Recommendation
       1.     Staleness of information
       Defendant Hanson’s initial objection is to Judge Zoss’s conclusion that Deputy
Tadlock had reasonable suspicion to continue the stop after he had issued the warning
ticket to Charles Hanson. Specifically, defendant Hanson argues that the information from
the informant was too stale to be relied upon to support a finding of reasonable suspicion.
The prosecution counters that the information known to law enforcement was not stale and
more than sufficient to constitute reasonable suspicion to continue the stop.
       While defendant Hanson contends that Deputy Tadlock unlawfully detained her
when he asked her for permission to search her pickup truck after the traffic stop was over,
“law enforcement officers do not violate the Fourth Amendment by asking a person for
consent to search or other types of cooperation, even when they have no reason to suspect



       1
        (...continued)
and recommendation will not result in a waiver of the right to appeal ‘”when the questions
involved are questions of law or mixed questions of law and fact.”’” (quoting Francis v.
Bowen, 804 F.2d 103, 104 (8th Cir. 1986), in turn quoting Nash v. Black, 781 F.2d 665,
667 (8th Cir. 1986))). In addition, legal conclusions will be reviewed de novo, regardless
of whether an appellant objected to a magistrate judge’s report and recommendation. See,
e.g., United States v. Maxwell, 498 F.3d 799, 801 n.2 (8th Cir. 2007) (“In cases like this
one, ‘where the defendant fails to file timely objections to the magistrate judge’s report and
recommendation, the factual conclusions underlying that defendant’s appeal are reviewed
for plain error.’ We review the district court’s legal conclusions de novo.” (citation
omitted)).

                                             12


   Case 5:09-cr-04057-MWB-LTS          Document 55       Filed 03/19/10    Page 12 of 22
that person, ‘provided they do not induce cooperation by coercive means.’” United States
v. Yang, 345 F.3d 650, 654 (8th Cir. 2003) (quoting United States v. Drayton, 536 U.S.
194, 201 (2002)), cert. denied, 124 S. Ct. 1694 (2004); see United States v. Rivera, 570
F.3d 1009, 1014 (8th Cir. 2009); United States v. Long, 532 F.3d 791, 795 (8th Cir.
2008); United States v. Luna, 368 F.3d 876, 879 (8th Cir. 2004); United States v. Jones,
269 F.3d 919, 925 (8th Cir. 2001). As a result, “‘the time it takes for an officer to find
out if consent will be given cannot be an unlawful detention in the absence of coercive or
otherwise unusual circumstances.’” Luna, 368 F.3d at 879 (quoting Yang, 345 F.3d at
654). Here, after completing the traffic stop, Deputy Tadlock asked for consent to search
Hanson’s pickup truck. Hanson immediately said, “Yep.” Once Hanson gave her oral
consent to search her pickup truck, it was reasonable for Deputy Tadlock to continue the
encounter in reliance on Hanson’s consent. See Rivera, 570 F.3d at 1013-14 (“When a
motorist gives consent to search his vehicle, he necessarily consents to an extension of the
traffic stop while the search is conducted, and Trooper Coleman reasonably could rely on
Rivera’s oral consent as a basis to extend the encounter.”);see also United States v.
Esquivel, 507 F.3d 1154, 1158 (8th Cir. 2007) (unnecessary to address contention of
excessive length and scope of stop in light of defendant’s consent to search). At this
juncture, Deputy Tadlock and Hanson entered Tadlock’s patrol car in order for Tadlock
to prepare, and have Hanson sign, a written consent to search form. It was only after
Tadlock had started preparing the written consent to search form that Hanson announced
that she had “changed my mind” about consenting to the search.           Immediately after
Hanson revoked her oral consent to search, Deputy Tadlock walked his drug dog around
Hanson’s pickup truck. While Deputy Tadlock’s drug dog gave an “alert” to Hanson’s




                                            13


   Case 5:09-cr-04057-MWB-LTS         Document 55       Filed 03/19/10    Page 13 of 22
                                                       2
pickup truck, it did not give an “indication” to it.       The Eighth Circuit Court of Appeals
has held that “a brief detention for a dog sniff at the end of a traffic stop is de minimis and
does not violate the Fourth Amendment.” Rivera, 570 F.3d at 1014; see United States v.
Alexander, 448 F.3d 1014, 1016-17 (8th Cir. 2006); United States v. Martin, 411 F.3d
998, 1002 (8th Cir. 2005); United States v. $404,905.00 in United States Currency, 182
F.3d 643, 649 (8th Cir. 1999).
       Because the purposes of Deputy Tadlock’s initial traffic stop of Hanson’s vehicle
had been completed by this point, Deputy Tadlock could not subsequently detain Hanson
unless he had reasonable suspicion for his renewed detention of Hanson. “‘Whether the
particular facts known to the officer amount to an objective and particularized basis for a
reasonable suspicion of criminal activity is determined in light of the totality of the
circumstances.’” United States v. Walker, 555 F.3d 716, 769 (8th Cir. 2009) (quoting
United States v. Halls, 40 F.3d 275, 276 (8th Cir. 1994) (quoting in turn United States v.
Garcia, 23 F.3d 1331, 1334 (8th Cir. 1994); see United States v. Hamilton, 591 F.3d
1017, 1022 (8th Cir. 2010) (“Reasonable suspicion exists when, considering the totality
of the circumstances known to the officer at the time, the officer has a particularized and
objective basis for suspecting wrongdoing.”); United States v. Martinez-Cortes, 566 F.3d


       2
        Deputy Tadlock offered this explanation of the difference between a drug dog
“alert” and an “indication” in his testimony at the evidentiary hearing:

              That’s where the question is on a dog, a drug dog, there’s an
              alert and the indication. The alert is the change of behavior.
              He’d alerted to the vehicle. He didn’t give the indication
              which he’s an aggressive indicator where he would be
              scratching.

Suppression Hearing Tr. at 39.

                                              14


   Case 5:09-cr-04057-MWB-LTS           Document 55         Filed 03/19/10   Page 14 of 22
767, 769 (8th Cir. 2009) (“In making reasonable-suspicion determinations, reviewing
courts ‘must look at the totality of the circumstances of each case to see whether the
detaining officer has a particularized and objective basis for suspecting legal
wrongdoing.’”) (internal quotation marks omitted) (quoting United States v. Arvizu, 534
U.S. 266, 273 (2002)); see also United States v. Pereira-Munoz, 59 F.3d 788, 791 (8th
Cir. 1995) (holding that reasonable suspicion is determined in the totality of the
circumstances); United States v. Bloomfield, 40 F.3d 910, 918 (8th Cir. 1994) (holding
that reasonable suspicion is determined in light of the totality of the circumstances).
       The Eighth Circuit Court of Appeals has summarized the standards used to consider
whether reasonable suspicion exists as follows:
              The standard of articulable justification required by the fourth
              amendment for an investigative, Terry-type seizure is whether
              the police officers were aware of “particularized, objective
              facts which, taken together with rational inferences from those
              facts, reasonably warrant[ed] suspicion that a crime [was]
              being committed.” United States v. Martin, 706 F.2d 263, 265
              (8th Cir. 1983); see also Terry, 392 U.S. at 20-21, 88 S. Ct.
              at 1879-80. In assessing whether the requisite degree of
              suspicion exists, we must determine whether the facts
              collectively establish reasonable suspicion, not whether each
              particular fact establishes reasonable suspicion. “[T]he totality
              of the circumstances-the whole picture-must be taken into
              account.” United States v. Cortez, 449 U.S. 411, 417, 101 S.
              Ct. 690, 695, 66 L. Ed. 2d 621 (1981). We may consider any
              added meaning certain conduct might suggest to experienced
              officers trained in the arts of observation and crime detection
              and acquainted with operating modes of criminals. See United
              States v. Wallraff, 705 F.2d 980, 988 (8th Cir. 1983). It is not
              necessary that the behavior on which reasonable suspicion is
              grounded be susceptible only to an interpretation of guilt, id.;
              however, the officers must be acting on facts directly relating
              to the suspect or the suspect’s conduct and not just on a

                                             15


   Case 5:09-cr-04057-MWB-LTS          Document 55      Filed 03/19/10     Page 15 of 22
              “hunch” or on circumstances which “describe a very broad
              category of predominantly innocent travelers.” Reid v.
              Georgia, 448 U.S. [438] at 440-41, 100 S. Ct. [2752] at 2754
              [65 L. Ed. 2d 890]; United States v. Sokolow, 831 F.2d 1413
              (9th Cir. 1987), [rev’d on other grounds, 490 U.S. 1, 109 S.
              Ct. 1581, 104 L. Ed. 2d 1 (1989) ].
United States v. Beck, 140 F.3d 1129, 1136-37 (8th Cir. 1998) (internal quotation marks
omitted) (quoting United States v. Campbell, 843 F.2d 1089, 1093 (8th Cir. 1988)).
       As discussed above, defendant Hanson objects to Judge Zoss’s Report and
Recommendation on the ground that the information from the informant was too stale to
be relied upon to support a finding of reasonable suspicion. “There is no bright-line test
for determining when information is stale.” United States v. Stachowiak, 521 F3d 852,
856 (8th Cir. 2008); see United States v. Perry, 531 F.3d 662, 666 (8th Cir. 2008); United
States v. Summage, 481 F.3d 1075, 1078 (8th Cir. 2007), cert. denied, 128 S. Ct. 875
(2008); United States v. Gettel, 474 F.3d 1081, 1086 (8th Cir. 2007); United States v.
Koelling, 992 F.2d 817, 822 (8th Cir. 1993). Rather, “‘[t]ime factors must be examined
in the context of a specific case and the nature of the crime under investigation.’” United
States v. Morrison, 594 F.3d 626, 631 (8th Cir. 2010) (quoting United States v. Caswell,
436 F.3d 894, 898 (8th Cir. 2006)); accord Perry, 531 F.3d at 666; Stachowiak, 521 F3d
at 856; Gettel, 474 F.3d at 1086; Koelling, 992 F.2d at 822. As the Eighth Circuit Court
of Appeals recently observed:
              “‘[W]here continuing criminal activity is suspected, the
              passage of time is less significant.’” Jeanetta, 533 F.3d at 655
              (quoting United States v. Formaro, 152 F.3d 768, 771 (8th
              Cir. 1998)). “In investigations of ongoing narcotics operations,
              intervals of weeks or months between the last described act
              and the application for a warrant does not necessarily make the
              information stale.” Id. (internal quotations, alterations, and
              citations omitted); see also United States v. Pitts, 6 F.3d 1366,

                                             16


  Case 5:09-cr-04057-MWB-LTS           Document 55      Filed 03/19/10     Page 16 of 22
              1369 (9th Cir. 1993) (finding that “‘[w]ith respect to drug
              trafficking, probable cause may continue for several weeks, if
              not months, of the last reported instance of suspect activity.’”)
              (quoting United States v. Angulo-Lopez, 791 F.2d 1394, 1399
              (9th Cir. 1986)).
Morrison, 594 F.3d at 631.
        Here, while the confidential source contacted the Sioux City Police in May of 2009,
the information he provided was of an ongoing marijuana distribution ring. Moreover, law
enforcement personnel twice corroborated information received from the confidential
source, including the day of the traffic stop at issue here. Because of the nature and
circumstances of this case, and the fact that law enforcement officers had received recent
corroboration of information previously received from the confidential source, the court
finds that the information supporting reasonable suspicion was not stale. Accordingly,
defendant Hanson’s first objection is overruled.
        2.    Lack of veracity of the confidential informant
        Defendant Hanson’s next objection is that, due to the absence of information
regarding the veracity of the confidential informant, the informant’s information cannot
be considered sufficiently reliable to support a finding of reasonable suspicion. Here, the
police received information from a known but unproven confidential informant regarding
defendant Hanson’s drug operation. The Eighth Circuit Court of Appeals has observed
that:
              Unproven informants are individuals without a track record of
              supplying information to law enforcement officers. “Though
              less reliable than informants with a proven record, unproven
              informants are more reliable than anonymous tipsters because
              the police can hold them responsible for false information.”
              Kent, 531 F.3d at 649. Nevertheless, information supplied by
              such individuals “requires some independent verification to


                                             17


   Case 5:09-cr-04057-MWB-LTS          Document 55      Filed 03/19/10     Page 17 of 22
              establish reliability.” Id. (citing United States v. Brown, 49
              F.3d 1346, 1349 (8th Cir. 1995)). “Independent verification
              occurs when the information (or aspects of it) is corroborated
              by the independent observations of police officers.” Brown, 49
              F.3d at 1349.
United States v. Nolen, 536 F.3d 834, 840 (8th Cir. 2008). The Eighth Circuit Court of
Appeals has recognized that “independent corroboration of even innocuous facts makes it
more likely an informant is telling the truth about incriminating ones, and corroboration
of innocent behavior can provide the basis for establishing probable cause.” United States
v. Ketzeback, 358 F.3d 987, 991, 992 (8th Cir. 2004). The thinking here is that “an
informant who is correct about some things more likely will be correct about critical
unverified facts. . .” United States v. Reivich, 793 F.2d 957, 960 (8th Cir. 1996). In this
case, there was some independent verification; law enforcement officers confirmed the
confidential informant’s information about the make, model and color of vehicles defendant
Hanson was using to transport marijuana from Texas to Iowa, as well as documenting two
trips to Texas by one of these vehicles. Moreover, an additional indicia of reliability here
is that the confidential informant made a statement against penal interest by admitting his
past drug dealings with defendant Hanson. See United States v. Harris, 403 U.S. 573,
583-84 (1971). As the Eighth Circuit Court of Appeals has recognized, “‘one who knows
the police are already in a position to charge him with a serious crime will not likely
undertake to divert the police down blind alleys.’” Reivich, 793 F.2d at 960 (quoting
United States v. Davis, 617 F.2d 677, 693 (D.C. Cir. 1979) (quoting in turn 1 W. LaFave,
Search and Seizure, § 3.3, at 528 (1978), cert. denied, 445 U.S. 967 (1980)).
Therefore, this objection is also overruled.




                                               18


   Case 5:09-cr-04057-MWB-LTS         Document 55       Filed 03/19/10    Page 18 of 22
       3.     Lack of drug dog’s initial indication
       Defendant Hanson further objects on the ground that the lack of an initial
“indication” by Deputy Tadlock’s drug dog should have negated any reasonable suspicion
to detain defendant Hanson’s vehicle. Defendant Hanson, however, has not directed the
court to any controlling authority supporting her argument. More importantly, the Eighth
Circuit Court of Appeals has held that a negative dog alert alone does not eliminate the
existence of reasonable suspicion:
              The Tenth Circuit has held a dog’s failure to alert on a
              package removed from the mail stream does not require an
              investigator to return the package to the mail stream
              immediately. United States v. Ramirez, 342 F.3d 1210, 1212-
              13 (10th Cir. 2003). Similarly, the district court stated that

                     while a positive alert to a package, by a police canine,
                     may alone be sufficient to establish probable cause to
                     search the package, see, United States v. Sun[d]by, 186
                     F.3d 873, 876 (8th Cir. 1999), the Defendant cites to
                     no authority, nor did our independent inquiry reveal
                     any, for the opposite proposition-namely, that a
                     negative alert dissipates any reasonable suspicion
                     where, as here, several articulable factors supported
                     Nichols[‘s] assessment that a reasonable suspicion
                     existed to subject the package to a dog sniff in her
                     presence.

              We agree.
United States v. Lakoskey, 462 F.3d 965, 976-77 (8th Cir. 2006); see United States v.
Ramirez, 342 F.3d 1210, 1213 (10th Cir. 2003) ( “We will not require investigators to
cease an otherwise reasonable investigation solely because a dog fails to alert, particularly
when we have refused to require that a dog sniff test be conducted at all.”); United States
v. Jodoin, 672 F.2d 232, 236 (1st Cir. 1982) (Breyer, J.) (holding that a “dog’s failure to

                                             19


   Case 5:09-cr-04057-MWB-LTS          Document 55      Filed 03/19/10     Page 19 of 22
react does not . . . destroy the ‘probable cause’ that would otherwise exist. It is just
another element to be considered.”); United States v. Sullivan, 625 F.2d 9, 12 (4th Cir.
1980) (upholding detention when a “dog did not show a ‘full alert’” but “did show an
interest in one blue bag”). Here, when one considers the fact that Deputy Tadlock’s drug
dog alerted to defendant Hanson’s pickup truck, but did not indicate, and the fact that drug
couriers often mask the scent of drugs so that a drug sniffing dog will not indicate, see
United States v. 141,770.00 in United States Currency, 157 F.3d 600, 604 n. 4 (8th Cir.
1998) (“The wide-spread use of scented dryer sheets to mask the smell of illegal narcotics
is well documented in the decisions of the Courts of Appeals.”), the drug dog’s initial
failure to indicate on defendant Hanson’s pickup truck did not negate the other facts and
information supporting the existence of reasonable suspicion. Therefore, this objection is
also overruled.
       4.     Voluntariness of consent to search
       Defendant Hanson also objects to Judge Zoss’s finding that she voluntarily
consented to the search of her pickup truck. “Whether an individual’s consent is voluntary
is a question of fact that must be determined from the totality of the circumstances.”
United States v. Arciniega, 569 F.3d 394, 398 (8th Cir. 2009) (citing United States v.
Smith, 260 F.3d 922, 924 (8th Cir. 2001) (quoting in turn Schneckloth v. Bustamonte, 412
U.S. 218, 227 (1973)); accord United States v. Kelley, 594 F.3d 1010, 1013 (8th Cir.
2010); United States v. Esquivel, 507 F.3d 1154, 1159 (8th Cir. 2007); United States v.
Perry, 437 F.3d 782, 785 (8th Cir. 2006); United States v. Gipp, 147 F.3d 680, 685 (8th
Cir. 1998).   Some of the circumstances to be considered were outlined by the Eighth
Circuit Court of Appeals in Arciniega:
              Factors relevant to the analysis include (1) the individual’s age
              and mental ability; (2) whether the individual was intoxicated


                                             20


   Case 5:09-cr-04057-MWB-LTS          Document 55      Filed 03/19/10     Page 20 of 22
              or under the influence of drugs; (3) whether the individual was
              informed of his Miranda rights; and (4) whether the individual
              was aware, through prior experience, of the protections that
              the legal system provides for suspected criminals. Id. (citing
              United States v. Chaidez, 906 F.2d 377, 381 (8th Cir. 1990)).
              It is also important to consider the environment in which an
              individual’s consent is obtained, including (1) the length of the
              detention; (2) whether the police used threats, physical
              intimidation, or punishment to extract consent; (3) whether the
              police made promises or misrepresentations; (4) whether the
              individual was in custody or under arrest when consent was
              given; (5) whether the consent was given in public or in a
              secluded location; and (6) whether the individual stood by
              silently or objected to the search. Id.
Arciniega, 569 F.3d at 398; accord United States v. Barnum, 564 F.3d 964, 969 (8th Cir.
2009); United States v. Esquivias, 416 F.3d 696, 700 (8th Cir. 2005); Perry, 437 F.3d at
785.
       Here, the court finds that under the totality of the circumstances, defendant Hanson
voluntarily consented to the search of her pickup truck. Defendant Hanson is an adult,
owns her own business and generally appeared to be of normal intelligence. There is no
evidence that she had any difficulty understanding English and there is no indication that
she was under the influence of drugs or alcohol at the time Deputy Tadlock requested
permission to search her vehicle. Moreover, there is no evidence that she did not
understand what was going on. The conversation between defendant Hanson and Deputy
Tadlock was conducted in a cordial manner and in normal conversational tones, and
Hanson’s responses to Tadlock’s statements were appropriate. Deputy Tadlock had no
physical contact with defendant Hanson, did not draw or otherwise display his sidearm or
any other weapon, or make any other show of force. While Deputy Tadlock did not
inform Hanson of her right to refuse consent, defendant Hanson’s previous revocation of


                                             21


  Case 5:09-cr-04057-MWB-LTS           Document 55      Filed 03/19/10     Page 21 of 22
her initial consent to a search of her vehicle demonstrates a general understanding of her
right to refuse to consent. Deputy Tadlock made no misrepresentations to her. In
addition, defendant Hanson was only detained a short time before she consented to the
search of her vehicle, was not threatened or intimidated by Deputy Tadlock, did not
consent as a result of any promises from Deputy Tadlock, and the consent to search
occurred on a public highway with her son present.          Under the totality of these
circumstances, the court finds that Judge Zoss correctly found that defendant Hanson’s
consent to a search of her vehicle was voluntary. Therefore, this objection is also
overruled.


                                  III. CONCLUSION
      Therefore, for the reasons set out above, the court, upon a de novo review of the
record, accepts Judge Zoss’s Report and Recommendation and denies defendant Hanson’s
Motion To Suppress.
      IT IS SO ORDERED.
      DATED this 19th day of March, 2010.


                                                __________________________________
                                                MARK W. BENNETT
                                                U. S. DISTRICT COURT JUDGE
                                                NORTHERN DISTRICT OF IOWA




                                           22


  Case 5:09-cr-04057-MWB-LTS         Document 55      Filed 03/19/10    Page 22 of 22
